        Case 3:08-cr-04059-JLS                  Document 87           Filed 01/11/12                PageID.162               Page 1 of 2

                                                                                                                            FILED
     '<M0245D    (Rev. 3/01) Judgment in a Criminal Case for Revocations
                 Sheet 1                                                                                                    JAN 112012
                                                                                                                  ClERJ(U.S.DISTRlCTCOURT
                                        UNITED STATES DISTRICT COUR~yERNDIS~ICT()l:CAUFORNIA
                                                                                -, -"'OEPUTY
                     SOUTHERN                                    District of                                   CALIFORNIA
                  UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                   V.                                     (For Revocation of Probation or Supervised Release)
                 JOSE FRANCISCO LUCERO (1)                                (For Offenses Committed On or After November I, 1987)


                                                                          Case Number: 08CR4059-JLS

                                                                          SCOTT PACTOR
                                                                          Defendant's Attorney
    REGISTRATION No. 09570298
o
    THE DEFENDANT:
     EEladmitted guilt to violation of allegation(s) No . . ;O;;,:NE:..:.:::_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No.                                                 after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number                   Nature of Violation
             1            Committed a federal, state orlocal offense (nvl)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through              2       of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thiS judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States attorney of any material change in the
    defendant's economic circumstances.

                                                                          JANUARY 6, 2012
                                                                         Date of Imposition of Sentence




                                                                             ON. JANIS L. SAMMARTINO
                                                                          UNITED STATES DISTRICT JUDGE




                                                                                                                                  08CR4059-JLS
    Case 3:08-cr-04059-JLS                          Document 87      Filed 01/11/12         PageID.163           Page 2 of 2

AO 2458     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                               Judgment - Page    2     of        2
DEFENDANT: JOSE FRANCISCO LUCERO (1)
CASE NUMBER: 08CR4059-JLS
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED



   o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      ep.m.    D.m.       on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ----------------------------------------------------------
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at _____________________ , with a certified copy ofthis judgment.


                                                                                            UNlTED STATES MARSHAL


                                                                     By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                        08CR4059-JLS
